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                    IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN

                                                )
UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )      Case No. 3:19-cr-0068
                      v.                        )
                                                )
LOUIE ISON MANGAMPAT,                           )
                                                )
                      Defendant.                )
                                                )


                                           ORDER
       BEFORE THE COURT is the trial in this matter, currently scheduled for October 26,
2020. For the reasons stated herein, the time to try this case is extended up to and including
January 25, 2021.
       On March 17, 2020, the Chief Judge of the District Court of the Virgin Islands entered
a general order responding to the COVID-19 pandemic. The Chief Judge noted that the
pandemic had been declared a national emergency and a public health emergency by the
President of the United States. The Chief Judge also noted that the Governor of the Virgin
Islands had declared a state of emergency. The Chief Judge found it necessary to “take
reasonable and prudent actions” “in order to further public health and safety, and the health
and safety of Court personnel, counsel, litigants, other case participants, jurors, persons with
other business at the courthouse, and the general public.” Mar. 17, 2020, Order Concerning
Operations of the District Court of the Virgin Islands During the COVID-19 Outbreak at 1-2
(Mar. 17, 2020), https://www.vid.uscourts.gov/sites/vid/files/general-ordes/CoronaVirus
OperationsOrder.pdf.
       Among other precautionary measures, the Chief Judge continued all criminal trials
scheduled from March 18, 2020, through April 16, 2020. The Chief Judge found that the ends
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of justice required excluding March 18, 2020, through April 16, 2020, from the Speedy Trial
count in all criminal matters.
           Such exclusion is necessary as to any cases scheduled for trial during the
           March 18, 2020[,] through April 16, 2020[,] period in order to assure that
           there is a full, unhindered, continuously serving jury venire and seated
           jury in every case, which is central to the sound administration of justice.
           Such exclusion of time is also necessary in cases that are set for trial
           outside of the March 18, 2020[,] through April 16, 2020[,] time period, as
           well as cases that are not yet set for trial, in order to address the
           reasonably anticipated difficulties in defense counsel communicating or
           visiting with clients; the difficulties that the parties are likely to face in
           undertaking all of the tasks necessary to fully prepare for trial; and the
           inherent delay in the scheduling of further trials as a consequence of the
           exclusion period herein.
Id. at 2-3. The Chief Judge has since extended the general order six times, excluding March
18, 2020, through October 31, 2020, from the Speedy Trial count in all criminal matters.
       Since the Chief Judge entered the general order, the crisis in the U.S. Virgin Islands
and the United States in general has intensified. On March 17, 2020, there were
approximately 7,000 confirmed cases in the United States, two of which were in the U.S.
Virgin Islands. As of the date of this Order, there are over 8,320,000 confirmed cases in the
United States, 1337 of which are in the U.S. Virgin Islands. The virus has claimed over
221,000 lives in the United States and 21 in the U.S. Virgin Islands. The number of cases and
deaths continues to rise rapidly.
       Recognizing the gravity of the situation, Congress passed an unprecedented financial
assistance package, the CARES Act, on March 27, 2020. The Act was signed into law by the
President of the United States that same day. Among its many provisions, the CARES Act
authorizes district courts to use teleconferencing to hold felony plea hearings and felony
sentencing hearings under appropriate circumstances. See CARES Act, Pub. L. No. 116-136,
§ 15002(b)(2) (2020).
       Moreover, recognizing the severity of the public health crisis presented by COVID-19,
Virgin Islands Governor Albert Bryan declared a state of emergency for the Virgin Islands in
March 2020. In a series of executive orders in March and April of 2020, Governor Bryan
instituted a number of precautionary and preventative measures that significantly curtailed
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economic and local governmental operations. Over the next several months, the rate of new
positive COVID-19 cases in the Virgin Islands decreased significantly. As a result, Governor
Bryan loosened the previously ordered restrictions. However, beginning in July, the Virgin
Islands began to see a dramatic uptick in new positive COVID-19 cases, a trend that continues
to this date. On August 13, 2020, Governor Bryan issued an executive order effecting a return
to all the previously imposed restrictions on economic and local governmental operations
along with additional restrictions (the “Stay-at-Home Phase”). Among other measures,
Governor Bryan ordered all nonessential businesses to close, all nonessential public workers
to stay home, all establishments—except for grocery and ‘big-box’ stores—to limit
occupancy to no more than ten people, and all schools and churches to close. In imposing
such restrictions, Governor Bryan emphasized that these measures are necessary to curtail
the rapidly increasing spread of COVID-19 in the Virgin Islands. Thereafter, on September 8,
September 15, and September 30, 2020, Governor Bryan issued additional executive orders
which provided for certain new restrictions while relaxing other restrictions, moving the
Territory from the “Stay-at-Home Phase” to the Territory’s “Safer-at-Home Phase.”
       While the Speedy Trial Act requires that defendants be tried within seventy days of
indictment, the Court specifically finds that further extending this period would be in the
best interest of justice. Notwithstanding the fact that the rate of new positive COVID-19 cases
in the Virgin Islands has significantly decreased following the Governor’s August 13, 2020
order, COVID-19 continues to present an unpredictable threat to public health and safety. In
light of these circumstances, the Court finds it necessary and appropriate to proceed with
caution. Social distancing—specifically avoiding gatherings of more than 10 people and
maintaining a distance of at least 6 feet from others—remains the most effective check
against the COVID-19’s transmission. Moreover, this case in particular presents significant
challenges surrounding COVID-19 transmission risk and travel restrictions as the majority
of the United States’ essential witnesses are foreign nationals. Given the continuing dire
circumstances faced by the U.S. Virgin Islands and the United States as a whole, the Court
finds that a greater extension of time is necessary for the protection and well-being of the
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defendant, the jury, the prosecutors, the witnesses, the Court’s personnel, and the general
public at large.
       The premises considered, it is hereby
       ORDERED that the time beginning from the date of this order granting an extension
through January 25, 2021, shall be excluded in computing the time within which the trial in
this matter must be initiated pursuant to 18 U.S.C. § 3161; it is further
       ORDERED that the trial in this matter previously scheduled for October 26, 2020, is
RESCHEDULED to commence promptly at 9:00 A.M. on January 25, 2021, in St. Thomas
Courtroom 1.



Dated: October 21, 2020                            /s/ Robert A. Molloy
                                                   ROBERT A. MOLLOY
                                                   District Judge
